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EX. 1
POLICY 16-07-01, CONTROL OF CONTRABAND/BODY SEARCHES

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§%i[~',t€.‘l-t% MlSSISSlPPl DEPARTMENT SO=°ENGL;N{[]EER
"‘5`““;*“1'. CORRECT[ONS |NSTITUTlONS
lNlT|AL DATE
CONTROL OF CONTRABANDIBODY SEARCl-IES - OFFENDERS 12_01_2006
AcA sTANoARos: 44192 thru 4-4194 EFFECTWE DATE
02-01-2013
STATUTES: 47~5~193 RESTRiCTED PAGE 1 of'!
1 APPL|CAB|L!TY:
2
3 This procedure applies to all employees of fv’lississippi Department of Corrections (MDOC) that
4 transportl supervise or otherwise come in contact with offenders.
5
6 POL|C¥ STATEMENT:
?
8 lt is the policy of the l'vlississippi Department of Corrections to control contraband
9
10 DEFIN|T|ONS:
11
12 Contraband - Any ifems(s) that is not authorized by NlDOC.
13
14 'Bodv/Persona|!Pat/Frisl-c Seerches - Hands on tactile search of a clothed offender (minus
15 pocket contents, shoes and outer garments) for the purpose of discovering and confiscating
16 contrabandl
17
18 Stn'p Search - A visual search/examination of a disrobed offender by a minimum of two (2) staff
19 members in a location restricted from the visual observation of non-involved lviDOC staff and/or
20 other persons.
21 '
22 Visual foender Bodv Cavity Search with Genitai Examination - A visual search/examination of
23 a disrobed offender by a minimum of two (2} staff members in a location restricted from the
24 visual observation of non-involved MDOC staff and/or other persons that requires offenders to
25 bend over, turn, raise arms, lift genitals, spread the buttocks, run hands through their hairr and
26 open moLrth. `
27 l
28 Body Cavity Search - .€\ contraband search involving the insertion of a probe into an offender’s
29 body cavity that is conducted exclusively by qualified medical personnel in private.
30
31 Generai Search - A group search of offenders (i.e., unit zone) which can include personal
32 property, living areas andfor persons
33
34 Reasonab|e Suspicio - The detection of suspect facts, circumstances auditor behavior that
35 may prompt an officer to believe that an offender may be concealing contraband in or on their
36 person andi'or N!DOC propertyI
37
38 Narcotic Canine Searches - foender body, property and living area searches conducted by
39 narcotic detection dogs under the supervision of trained MDOC Canine (K-Q) staff
40
41 Sgice/lvioi ~ A form of contraband which is a combination of herbs; baybean (canavaiia
42 maritime), blue lotus (nymphaea caruiea & nymphaea alba), lion’s tail (Leonotis leonurus),
43 indian warrior {pedicularis densiflora), dwarf scallop (scuttelaria nana), moconha brava (zornia

 

 

 

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Forr'ns

 

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44 iatitoiia), pink iotus (nelumbo nuclfera), Siberian motherwort (ieonuru`s sibircus), vani|ia and

45 honey, that produces some of the same effects as marijuana

46

47 JHW- 108 Svnthetic iviariiuana ~A man- -made chemicaii”i'HC variant that produces similar affects

48 as THC except is four (4) times stronger

49

50 Non~lntrusive Search _ Search of the clothed body by technical means; manual or technical

51 search of personal possessions the person may be carrying and any possession the person

52 may be asked to remove, and swiping personal items, including purses, coats, identification

53 cards or other items iri e person’s possession

54

55 Threshoid level - A numerical value that is recorded and, once exceeded may be grounds for action

56 (i.e., refusing or restricting a visit or proceeding with inmate discipline)_

57

58 Positive Readfng - A positive indication of trace drug or explosive substance ions on an item, beyond

59 the pre-set threshold value Thls reading would indicate recent or current contact with a drug Or

60 explosive substancel

61

62 Quaiified Personnei - A correctional staff member who has been trained and qualified to use the

63 lonscannen

64

65 Swiging - Rubbing an approved cotton cloth (swab) over an item_

66

67 PROCEDURES:

68

69

70 _

71 policies are made available to staff and inmates [4~4192]

72

7‘3 The function of iviDOC facility searches are to:

74

`75 ¢ Locate contraband

?6 - Preventescapes

77 » iiilaintain security and control

78 l Evaluate fire and safety hazards

79 ~ Protect staff and offenders

80 » iviaintain sanitary and housekeeping conditions

81 o Prevent altercations

82

83 General Search Ru|es

84

85 When possible, an offender should be given an order outside the presence of other offenders

86

37 Once an offender has refused to follow an order by staff, the officer should not confront the

88 offender without informed assistance

89

90 The officer(s) asked to assist in carrying out an order should be aware the offender’s earlier

91 remsmtocompw.

16-07-01 (g)
Forms

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T|TLE: CONTROL OF CONTRABAND!BODY SEARCHES - OFFENDERS 16_07_0,1
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92 Whenever possibie, an offender should be isolated from a group cf offenders before attempting
93 to enforce an order1
94
95 For example, an offender should be called into the hallway to turn over contraband rather than
96 confronted in the housing unit with other offenders
97
98 Additionaily, orders should be given to the offender when carrying out the process of retrieving
99 theconhaband
100
101 if an ofticer knows contraband will be retrieved do not give the offender time to plan his/her
102 response/attack unnecessarily by giving the offender a warning that you are going to come and
103 taketheconhaband
104
105 General search rules include:
106
107 o Ali searches will be reasonable and related to the legitimate security needs andior
108 ongahons oftheinshtuhon
109
110 ¢ Unannounced and unscheduled searches will be conducted of iviDOC offenders, to include
111 their persons property, living and work areas.
112
113 - Aii staff conducting searches will be trained in effective search techniques that provide
114 protection from bodin harm for both staff and offenders
115 _
116 - Atl vacant cells and living areas will be searched prior to offender occupancy
117
118 ~ All staff involved in the conduct of searches will avoid whenever possible the use of
119 unnecessary force, and the provocation of undue offender embarrassment andfor indignity
120 Whenever feasibie, staff will use non-intensive sensors or alternate techniques
121
122 o MDOC staff wiil respect offender*`s personal property during searches of offender personal
123 edems. _
124
125 v Staff use of approved mechanical devices will occur only when necessitated by security and
126 safety considerations
127
128 - Property, pat!frisk and general searches may be conducted at any time.
129 -
130 General Area Searches
131
132 o Searches will be coordinated through the Shift Supervisor of higher authority
133
134 ¢ Searches will target housing units, Work areas, classrooms, storage warehouse areas and
135 ali other iv|DOC property
136
137 ¢ When possiblel the supervisor of an area being searched will be present during the search
138 -
139 o _Search areas will be left in an orderly manner.
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Forms

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SOP NUMBER

TiTLE: CONTROL DF CONTRABAN DiBODY SEARCHES ~ OFFENDERS 15_07_01

EFFECT|VE DATE: 02-01-2013 RESTR|CTED PAGE 4 of 7
140 ¢ Reports will be generated that include all pertinent information specific to detected
141 contraband andior search circumstances
142
143
144
145
146 Reasonable belief _ts not_ required `w eri
147 "biic': or fr_o_r_n_ outside th6 institution iii all
148
149
150 Visual Body Cavity Search With Genital Examination Searches as defined Will be conducted
151 routinely as offenders are entering or leaving their housing units andfor institution/facility for or
152 after appointments1 appearancesl emergency transfers, and physicai contacts with visitors or
153 attorneys andforfor probable cause
154
155 Adi__rit Correcfionai institutions1 Written_ `:'-f)proced '6: and practice provide that- manual
156 __ " " """"'nspectlon 6f b66y cavities is c6n __cte_d only when there 1s__ reason __to do
157 6 ai_i`6 when a`iiti'i_oi'izéd _t_jy__ the wardenisuperrntendent or designee. '_l’he_ inspection is
158 conducted _i_ii private by h6alt_h care personnel or correctional p6rsonn6l trained b_`y_ health
159 care personnel [4-419_3]._§
160
161 Body Cavity Searches as defined will be conducted when there is reasonable suspicion or
162 evidence that an offender is concealing contraband within a body cavity. Offenders will be
163 searched in a sanitary manner and in a sanitized and approved location exclusively by offsite
164 rnedwaipersonnet
165
166 Reasonable Suspicton Searches will be initiated at the discretion of employees who supervise
167 or otherwise come in contact with offenders When there is reasonable suspicion that an
168 odenderhas conuaband,isidanmng an escape,andislnvowed hianiHegalacdey orassauh
169 and/or any other rules violation, MDOC employees will conduct or request the appropriate
170 search.
171
172 Narcotic Canine Searches will be implemented during general searches whenever informationl
173 evidence or suspicion indicates the probability of contraband drugs/paraphernalia All requests
174 for narcotic detection dogs will be approved by the Warden or official acting in capacity of the
175 Warden and the Administrator of the K~Q Unit. The staff requester will be responsible for
176 processing reports and ali other search documentation
177
178 Strig Search
179
180 ~ A lieutenant or higher authority or designee will approve all strip searches for contraband
181 dltection/confiscation.
182
183 ¢ Staff will exercise a proper attitude and follow professional search techniques when
184 conducting bodyipersonal searchesl
185
186 o Offenders will be informed of body/personal searches

  
 
 
 

  

   

   
   

 

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Forms

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SOP NUMBER
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' EFFECT|VE DATE: 02-01-2013 RESTRtCTED PAGE 5 of 7
187 - Offenders will be subjected to the least amount of touching as possible without jeopardizing
188 security considerationsl
189
190 ¢ Offenders wii| be strip-searched during the out~processing for transfer to another
191 ` correctional facility and during intake upon arrival at another correctional facilityl
192
193 ~ Offenders may be strip~searched when there is reasonable suspicion, return from visitation,
194 reclassification from administrative detention, escapee return or after participation in a
195 disturbance A Correctional Supervisor or Cornmander, of the |il<e gender of the offender1
196 will be required to observe strip searches following offender visitation
197
198 - lncident Reports will document circumstances and search results
199
200 dedPatSeanuiUsage
201
202 A frisiolpat search consists of:
203
204 = the removal of outer protective clothing
205 v the emptying of pockets
206 ~ the physical search of an offender
207 » screening by any device that does not require disrobing
208 ¢ the inspection ot papers, bags, books, or other items being carried
209 '
210 FrisldPat searches of male offenders may be conducted by staff of either sex; female offenders
21 1 will only be frisk/pat searched by female staff. These searches may be utilized in the following
212 instances:
213
214 o Whenever staff feels they are warranted
215 1 When offenders enter or exit their unit for any reason
216 s Ahervbhahon
217 - When offenders are being transported from one iocation to another
218 v For probable cause
219
220 lon Spectrometrv Analvzer iion Scanner) Procedures for Offenciers
221
222 The ion scanner may be used to:
223
224 ¢ Scan the clothing or possessions of inmates at a correctional faciiity;
225 o Scan inmate property within a correctional facility;
226 ¢ Scan the possessions correspondence orthe person of an inmate in a correctional facility; and/or
227 v Analyze a substance or samples taken from an aiticle or suiface obtained by a
228 correctional officer in the performance of his or her duties
229
230 Samples for ion spectrometry are obtained through non-invasive search techniques
231
232 The Warden will ensure staff is trained to operate the equipment according to the manufacturers
233 specmcadons.

16-07-01 {g)
Forms

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SOP NUMEER

T|TLE: CONTROL OF CONTRABANDIBDDY SEARCHES - OFFENDERS 16“07_01

EFFECT|VE DATE: 02-01-2013 RESTR!CTED PAGE 6 ot 7
234 The staff will ensure that the equipment for the ion scanner is operated and maintained per
235 safety guidelines and the manufacturers guidelines The manufacturer provides warm-up and
236 verification procedures to ensure that the device functions accurately
237
238 Response to Fositive Readiriqs
239
240 A positive reading on the ion scanner is evidence of contraband drugs or explosive substance
241 or contact With contraband drugs or explosive substance
242
243 lt may be used to support proceedings under lviDOC policy regarding any decision to §
244 restriction/suspend an inmate’s visiting privileges
245 `
246 Confiscation Transfer and Disposition of Evidence
247 '
248 The Corrections investigation Division (ClD) will accept evidence lvlonday through Friday from
249 8:00 a.m. to 5:00 p.m. (normal working hours),
250
251 An on-cal| CID investigator will be contacted to receive or recommend disposition of all potential
252 criminal evidence and/or contraband seized after normai working hours
253
254 All evidence andtor contraband seized after normal working hours that may be used in offender
255 discipiinary proceedings will be:
256
257 » Stored in a secure location
258 v Documented with a Ru|e Violation Report (RVR)
259 ¢ Relinquished to the Disciplinary Department on the next working day
260
261 Ali contraband items not specificain remanded to ClD custody and control will be surrendered
262 with appropriate RVR documentation to the Area Disciplinary Department.
263
264 Ati contraband obtained during search and seizures not resuiting in Rule Vtolation Reports will
265 be tagged property and surrendered to the i.lnit Administrator for disposition
266
267 Conhaband|tenm
268
269 The following contraband items Wili be remanded to the institutional CID staff upon confiscation:
270
271 ¢ Narcotics (itlegal and prescription)
272
273 l Alcohol (bonded or homemade)
274
275 - Weapons and munitions (homemade shanks or free-world) to include any unassembied
276 parts and any weapon used in an assauit
277
278 v U.S. Currericy or any negotiable instrument (i.e., checks, money ordersl credit cards and or
279 other related paraphernalia)
280
281 - Unauthorized electronic or electrical devices to include cell phones or any of its components

ts-or-oi ig)
Forms

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SOP NL|MBER
T|TLE: CONTROL OF CONTRABAND!BODY SEARCHES - OFFENDERS 16_07_01
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310

or accessories recorders, televisions, tattoo guns (assembied cr in part)

o Tools (manufactured or hcmemade)

» Documentary evidence to include gang paraphernalia1 escape plans, and items denoting
fraternization (i.e., letters, greeting cards, free-worid items not available through canteen)

¢ i<eys

o Spiceitviojo!Jl-lW~t 08 synthetic marijuana

o Any items not stated above that warrant a C|D investigation to determine its crigln, use, and

SOUFCB.

The confiscation of personai offender property will be documented on a Non-Allowab|e items
Recelpt in conjunction with the offenders required signaturel This form will accompany the
contraband to storage andfor disposition

Contraband will never be taken home by any employee for personal utilizationl Employees who
utilize contraband for personal reasons will be subject to discipiinary action andfor criminal

prosecution
DOCUMENTS REO.UIRED:

incident F\’eport

Rule Violation Report
Non-A|lcwable items Receipt
Chain-of-Custody

As required by this procedure and through the chain of command

 

 

 

 

 

 

ENFORCEMENT AUTHORITY
Reviewed and MM/(MM
Approved for ii.?ioi i 'e
issuance Deputy Cornm§sioner of institutions Date
16-07~01 {g}
Fonns

 

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CHAPTER VIII

ADMINISTRATIVE REMEDY PROGRAM

GENERAL

l\/lDOC has installed in all ofits institutions/facilities a formal administrative remedy mechanism for use by all inmates
committed to the custody ofl\/lDOC. lninates will be required to use this program before they proceed with a lawsuit.
Procedures to access the program will be posted at each institution/facility

DEFINITION OF ADMIN|STRATIVE REMEDY

A written complaint by an inmate on the inmate’s own behalf regarding the following
» A policy within an institutioni'facility;

o An action involving an inmate or employee of an institution!facility;

» An incident occurring within an institutioiv‘facility; and or

- A condition in an institution/facility

PURPOSE

l‘\/lDOC has established tlic Admi:iistrative Remedy Prograin through which an inmate may seek formal review of a
complaint relating to any aspect of their incarceration Through this procedure1 inmates shall receive reasonable
responses and, where appropriate meaningful reinedies. This procedure applies to all inmates confined in, or
committed to l\/IDOC.

PROCEDURES

A. inmates are encouraged to continue to seek solutions to their concerns through informal means. However, to
ensure their right to use the formal procedure they must make their request to the Legal Claims Adjudicator in
writing within a 30 day period after an incident has occurred if1 after filing in the formal procedure, an inmate
receives satisfactory response througii informal means1 the initiate shall request iii writing that the Legal Claims
Adjudicator cancel his formal request for administrative remedy

B. inmates may request information or assistance iri using the program from their Case Manager or from any staff
member iri their housing unit.

C. The printed forms used in the process contain precise instructions for inmate participants A]l instructions should
be read and followed carefully by the inmate.

D. The original letters of request to the Legal C`laims Adjudicator should be as brief as possible. The letter should
clearly indicate the terminology "`tliis is a request for administrative remedy.” The inmate should present as many
facts as possible to answer all the questions who, wiiat, when, where, and how concerning tlic incident

E. The initial complaint of an ARP and ARP appeals must be submitted through the ILAP office by completing an
ILAP request form indicating ARP/ARP appeal pickup and the deadline datc.

F. The First Step Response Form ARP-2 is to be used by the inmate to continue additional steps in the process, there
is no need to try to rewrite the original letter or request in this limited space The original letter of request is
available to all reviewers at each step of the process. The initiate must merely give a reason for their
dissatisfaction with the previous response.

G. A final decision will be made by the Superintendent, Warden or Cominunity Corrections Director and the
offender will be notified within 45 days of receiptl

H. if tiie inmate needs additional space for citing reasons for continuing in the process, they may use another page of
paper. The inmate should send the original to the chal Claims Adjudicator and make a copy for hisfher file.

I. Oiice an iiimate’s request for remedy is accepted into the procedurc, they must use the manila envelope that is
furnished with his/her Step One response to continue the procedure The requested information on the envelope
should be filled in before forms arc inserted since the forms are self-carbon The flaps on the envelope may be
tucked into the envelope for mailing, or the inmate may choose to tape or staple the envelope closed. Do not glue
the envelope

J. if an offender is not satisfied with the Second Step response, he may file suit in State or Federal Court. The
offender must provide the administrative remedy procedure number on the court forms.

SCREENING

The chal Claims Adjudioator will screen all requests prior to assignment to the First Step. If a request is rejected1 it

must be done for one of the following reasons, which shall be noted on Form ARP-l.

A. The relief sought is beyond the power of M_DOC to grant.

B. The complaint concerns an action not yet taken or a decision not yet made.

C. 'l`hei‘e has been a time lapse ofmore than 30 days between the event and the initial request.

V l.

VII.

Vlll.

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D. The inmate has requested a remedy for more than one incident (a multiple complaint).

E. The request does not contain the phrase “this is a request for administrative remedy”.

ACCEPTANCE OR REJE-CTION

Notice of the request`s acceptance or rejection will be given via Form ARP-l. lf a request is rejected for technical
reasons or matters of form, the inmate shall have five days from the date of rejection to file his/her corrected
grievance '

ABUSE OF THE PROCEDURE

A. lf an inmate submits additional requests during the period of Step One review ofhis request, the first request will
be accepted and handied. The others will be logged and set aside for handling at the Adjudicator`s discretion A
maximum of 10 requests will be logged. Requests above that number will be returned to the inmate and not filed

B. If a request is unclear or the volume of attached materiai is too great, it may be returned to the inmate with a
request for clarity or summarization on one additional page. The inmate shall have five days to file his corrected
grievance after notification is received

C. lf an inmate refuses to cooperate with the inquiry into his alfegation, the request may be cancelled by noting the
lack of cooperation on the l-`orm ARP-l and returning it to the inmate

REPRISALS

l\lothing in this procedure should serve to prevent or discourage an inmate from communications with a Division
Head, or anyone else in the department No action shall be taken against anyone for the good faith use of or good faith
participation in the program. The prohibition against reprisals should not be construed to prohibit discipline ofinniates
who do not use the system in good faith1 or who file requests that are frivolous or deliberately nialicious.

DEADLINE AND TIME LlMITS

A. Unless an extension has been granted, no more than 90 days shall elapse from beginning the process to ending the
process. Absent such an extension, expiration of response time limits without receipt of a written response shall
entitle the inmate to move on to the next step in the process.

B. An inmate may request an extension in writing of up to five days in which to file at any stage ofthe process. This
request shall be up to the Legal Claims Adjtidicator for Steps One and Two. The inmate must have valid reasons
for the delay and must accompany their request for an extension

C. Valid reasons for delay shall be addressed at each step. The inmate must be notified in writing of such an
extension in no case may cumulative extensions exceed 25 days.

SENSITIVE ISSUES

A. lfthe inmate believes that the complaint is sensitive and that they would be adversely affected if the complaint
became known at the institution or facility= they may file the complaint directly to the Deputy Cornmissioner, and
the inmate must explain1 in writing, the reason for not filing the complaint at the institution/facilityl

B. lfthe Deputy Commissioner believes that the complaint is sensitive, he shall accept and respond to the complaint
lfthe Deputy Commissioner does not agree that the complaint is sensitive, he shall advise the inmate in writing
and return the complaint When this occurs, the Deputy Commissioner shall also send a copy of this memo to the
Legal Clainis Adjudicator. The inmate shall then have five days from the date the rejection memo is received to
submit their request through regular channels, beginning with the first step.

